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                                         June 12, 2024

Via ECF

The Honorable George B. Daniels                    The Honorable Sarah Netburn
Daniel P. Moynihan United States Courthouse        Thurgood Marshall United States Courthouse
500 Pearl Street                                   40 Foley Square, Room 430
New York, NY 10007                                 New York, NY 10007

       Re:    In re Terrorist Attacks on September 11, 2001, 03 MDL 1570 (GBD) (SN)

Dear Judge Daniels and Judge Netburn:

        I write on behalf of Defendant Kingdom of Saudi Arabia (“Saudi Arabia”), concerning
Saudi Arabia’s letter today (ECF No. 9895) in response to Plaintiffs’ recent letter to the Court
(ECF No. 9885). Saudi Arabia’s letter attaches as exhibits certain email exchanges between the
parties that are relevant to the present dispute. Some of those exchanges discuss FBI confidential
material. Although Saudi Arabia believes its letter can ultimately be filed on the public docket
without redaction, it is filing under seal to permit the FBI to review and propose any redactions
the FBI considers necessary, and to permit the FBI to determine whether the exhibits should
remain under seal or should be filed publicly with or without redactions.

                                                    Respectfully submitted,

                                                    /s/ Michael K. Kellogg

                                                    Michael K. Kellogg
                                                    Counsel for the Kingdom of Saudi Arabia

cc:    All MDL Counsel of Record (via ECF)
